IN THE SUPREME COURT OF TEXAS


                              ((((((((((((((((
                                 No. 07-0495
                              ((((((((((((((((

                       Southwest Grain Co., Petitioner

                                     v.

   Martin P. Garza, Jr., Abel N. Gonzalez, Jr. and Aida Graciela Gonzalez,
                                 Respondents

            ((((((((((((((((((((((((((((((((((((((((((((((((((((
                     On Petition for Petition for Review
            ((((((((((((((((((((((((((((((((((((((((((((((((((((


      ORDER

      1.    Pursuant to the notice of bankruptcy of Martin  P.  Garza,  Jr.,
et al., filed with this  Court  on  March  3,  2008,  this  case  is  ABATED
effective as of March 2, 2008.
      2.    This case is abated pursuant  to  Tex.  R.  App.  P.  8.2  until
further order of this Court and is removed from the Court's  active  docket,
subject to reinstatement upon proper motion.  Tex.  R.  App.  P.  8.3.   All
motions and other documents pending or filed are  abated  subject  to  being
reurged in the event the case is reinstated.  Tex. R. App. P. 8.2  and  8.3.
It is the parties' responsibility to immediately notify this Court once  the
automatic bankruptcy stay is lifted.

      Done at the City of Austin, this 14th day of March, 2008.

                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       Supreme Court of Texas


                                       By Claudia Jenks, Chief Deputy Clerk




